                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00204-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 BOGGS PAVING, INC. AND                         )
 CARL ANDREW BOGGS III, et al.,                 )
                                                )
                                                )
                 Defendants.                    )



       THIS MATTER is before the court on the parties’ request for in-chambers conference.

After conducting such in-chambers conference, the court enters the following Order:

                                              ORDER

       IT IS ORDERED that the court’s previous Order (#228) is WITHDRAWN, the Motion

for Coordinated Sentencing Date (#222) is again termed, the dates for sentencing remain as

previously noticed, and the parties shall file their respective sentencing briefs and any exhibits or

letters of support (subject to the previous instructions concerning non-attachment to the sealed

sentencing memoranda and proper methodology for any sealing under LCrR 55.1) not later than

November 13, 2015, with no page limitations. The court will, at a later date, enter an Order and/or

provide notice of a date for an evidentiary hearing on the issue of Loss Amount as to all defendants

(except Defendant Mann) and, if so desired by Defendant Boggs and the government, application

of the § 3B1.1(a) enhancement as to Defendant Andrew Boggs .




       Case 3:13-cr-00204-MOC           Document 229        Filed 11/05/15      Page 1 of 2
                      Pretrial Services Officer Baker is advised that no additional review by USPO is necessary

              for objections briefed in such memoranda.


Signed: November 5, 2015




                     Case 3:13-cr-00204-MOC          Document 229       Filed 11/05/15     Page 2 of 2
